EXHIBIT A
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 1                 IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
 2                         SOUTHERN DIVISION

 3   ALABAMA COALITION FOR        |   CASE NO. 2:24-CV-01254-AMM
     IMMIGRANT JUSTICE; LEAGUE OF |
 4   WOMEN VOTERS OF ALABAMA      |
     EDUCATION FUND; ALABAMA      |
 5   STATE CONFERENCE OF THE      |
     NAACP; ROALD HAZELHOFF;      |
 6   JAMES STROOP; CARMEL         |
     MICHELLE COE; and            |
 7   EMILY JORTNER,               |
                   Plaintiffs,    |
 8                                |
     v.                           |
 9                                |
     WES ALLEN, in his official   |
10   Capacity as Alabama          |
     Secretary of State; STEVE    |
11   MARHSALL, in his capacity as |
     Alabama Attorney General;    |
12   and JAN BENNETT, BARRY       |
     STEPHENSON, CINDY WILLIS     |
13   THRASH, and SHEILA COX       |
     BARBUCK, in their official   |
14   capacities as Chairs of      |
     Boards of Registrars of      |
15   Elmore, Jefferson, Lee,      |
     and Marhsall Counties,       |
16                                |
                   Defendants.    |
17                                |
     UNITED STATES OF AMERICA,    |   CASE NO: 2:24-cv-01329-AMM
18                 Plaintiff,     |
                                  |
19   v.                           |
                                  |
20   STATE OF ALABAMA and WES     |
     ALLEN, in his official       |
21   capacity as Alabama          |
     Secretary of State,          |
22                 Defendants.    |

23                        ** MOTION HEARING **

24         BEFORE THE HONORABLE ANNA MANASCO, UNITED STATES
     DISTRICT JUDGE, at Birmingham, Alabama, on Wednesday, October
25   16, 2024, commencing at 10:10 a.m.
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 1                             APPEARANCES

 2   FOR THE PLAINTIFF, ALABAMA COALITION FOR IMMIGRANT JUSTICE, et
     al.
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 5           Montgomery, Alabama 36104

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     FOR THE PLAINTIFF, UNITED STATES OF AMERICA:
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15           KELLI SLATER
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             Civil Rights Division
17           950 Pennsylvania Avenue, Northwest
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18

19   FOR THE DEFENDANTS:
             MISTY SHAWN FAIRBANKS MESSICK
20           JAMES SCOTT WOODARD, JR.
             ROBERT M. OVERING
21           Office of the Attorney General, State of Alabama
             501 Washington Avenue
22           Montgomery, Alabama 36130

23   Proceedings reported by stenographic court reporter, transcript
     produced using computer-aided transcription.
24
                         Transcript prepared by:
25                     Kelli M. Griffin, RPR, CSR
                        Official Court Reporter
                                                                         3




 1             (Proceedings commenced at 10:10 a.m. in open court.)

 2             THE COURT:    All right.    Good morning, everybody.

 3             MR. FREEMAN:   Good morning, Your Honor.

 4             MR. DELHEIM:   Good morning.

 5             THE COURT:    All right.    While I get set up, let's take

 6   appearances.

 7        Who do I have for the United States?

 8             MR. FREEMAN:   Dan Freeman on behalf of the United

 9   States.

10             MR. DELHEIM:   Richard Delheim for the United States.

11             MS. SLATER:    Kelli Slater for the United States.

12             THE COURT:    All right.    Good morning to all of you.

13        All right.   Who do I have for the private plaintiffs?

14             MS. HUDDLESTON:   Kathryn Huddleston from Campaign

15   Legal Center, Your Honor.       And with me are my colleagues,

16   Danielle Lang, Kate Hamilton, and Shilpa Jindia.

17             MR. MCGUIRE:   Good morning, Your Honor.     Joseph

18   McGuire for the private plaintiffs.

19             THE COURT:    All right.

20             MS. COHEN:    Good morning, Your Honor.     Michelle Kanter

21   Cohen from Fair Elections Center for the private plaintiffs.

22             THE COURT:    Okay.    Is that everybody?   All right.

23   Good morning to all of you.

24        All right.   Who do I have for the State defendants?

25             MR. OVERING:   Robert Overing for State defendants.
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 1            MS. MESSICK:      Misty Messick for the State defendants.

 2            MR. WOODARD:      Scott Woodard for State defendants.

 3            THE COURT:    All right.    Good morning to all of you.

 4        Okay.   I appreciate everyone's diligent work yesterday and

 5   received all of the submissions and communications overnight,

 6   and so I am prepared to proceed this morning unless anybody has

 7   anything else we need to take up.

 8        All right.    Okay.   These cases are before the Court on two

 9   motions to dismiss by the State defendants, a motion for a

10   preliminary injunction by the United States, and a motion for

11   preliminary injunction by the private plaintiffs.

12        The cases are presently consolidated, and at the hearing

13   on some of the issues raised on the motions for a preliminary

14   injunction yesterday, the Court received evidence and heard

15   testimony from Mr. Clay Helms who serves as the Chief of Staff

16   to the Alabama Secretary of State.     At the Court's direction,

17   the evidence and argument yesterday was to be limited to the

18   issue of the 90-day provision.      During the hearing, all parties

19   agreed that testimony taken was admissible in both cases

20   currently pending before the Court.

21        At the conclusion of the hearing yesterday, I shared my

22   preliminary views of the evidence and argument and afforded the

23   parties a final opportunity to resolve the matter overnight.

24   The parties engaged in discussions but were not able to agree

25   on a resolution.
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 1        So in connection with the forthcoming written order, the

 2   Court now makes the following findings of fact and conclusions

 3   of law.   The Court emphasizes that what follows is limited to

 4   the issue of the 90-day provision.   Federal law imposes a

 5   deadline for programs like the one currently before the Court

 6   and Secretary Allen's office blew the deadline for the 2024

 7   general election with real consequences for thousands of

 8   Alabamians who the Secretary now acknowledges are, in fact,

 9   legally entitled to vote.   Accordingly, the Court will find

10   that a preliminary injunction should issue and will not harm

11   the State's ability to investigate and prosecute noncitizens

12   who try to vote in Alabama.

13        At the present time, the Court will make no other findings

14   or conclusions about any of the other issues in the cases.     As

15   to the preliminary injunction standard, the Court first finds

16   that the United States is substantially likely to succeed on

17   the merits of its claim that the Secretary of State violated

18   the 90-day provision of the National Voter Registration Act of

19   1993, 52 U.S.C. Section 20507(c)(2)(a).   The Court's finding in

20   this regard rests entirely on undisputed facts, testimony by

21   Mr. Helms on behalf of Secretary Allen and the State of

22   Alabama, and concessions by counsel for the State defendants.

23        The 90-day provision states that a state shall complete,

24   not later than 90 days prior to the date of a primary or

25   general election for federal office, any program, the purpose
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 1   of which is to systematically remove the names of ineligible

 2   voters from the official list of eligible voters.

 3        The Court first turns to the issue whether the process

 4   undertaken by Secretary Allen's office was a program for

 5   purposes of the 90-day provision.   Under controlling Eleventh

 6   Circuit precedent, the statutory term, "any program" has a

 7   broad meaning and encompasses programs of any kind.   That's the

 8   Arcia case at page 1344.

 9        In its closing argument, counsel for the State defendant

10   stated his awareness of the discussion of the word "any" by the

11   Eleventh Circuit in Arcia and stated that we're not fighting so

12   much that this isn't a program.   And consistent with that

13   acknowledgment, the Court finds that Secretary Allen's

14   announced process fits within the broad meaning based on a

15   plain reading of the statute and Arcia.   Because the program

16   modified voter lists on a basis, other than registrant's

17   request for removal, criminal conviction, or mental incapacity,

18   or death, the program was subject to the 90-day provision under

19   52 U.S.C. Section 20507(c)(2)(b).   In deed, if the Secretary's

20   process here is not a program within the meaning of the

21   National Voter Registration Act, it's difficult for the Court

22   to imagine what would qualify as a program.

23        The Court next turns to the question whether the program

24   was completed 90 days before an election for federal office.

25   Per Secretary Allen's August 13th, 2024 press release, which is
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 1   Doc. 49-1 in the CM/ECF record, the Court finds that the

 2   program at issue here was initiated 84 days prior to the

 3   general election to be held in 2024.   The Court further finds

 4   that the program remains ongoing to this day, as reflected by

 5   multiple declarations from Mr. Helms detailing the actions his

 6   office has taken in recent days and weeks in connection with

 7   the program.

 8        The State defendants conceded, at page 169 of the rough

 9   transcript yesterday, that the program was not completed

10   outside the 90-day period.   And in response to questions from

11   the Court, Mr. Helms testified that the program would affect

12   the upcoming 2024 general election.    As to the issue whether

13   the purpose of the program was to remove the names of

14   ineligible voters from the official list of eligible voters,

15   the Court finds Secretary Allen's August 13th, 2024 press

16   release was titled "Secretary of State, Wes Allen, implements

17   process to remove noncitizens registered to vote in Alabama."

18   The Court finds that that press release stated that Secretary

19   Allen is instructing the Board of Registrars in all 67 counties

20   to immediately inactivate and initiate steps necessary to

21   remove individuals who are not United States citizens.

22   Mr. Helms testified yesterday that the Secretary stands behind

23   that press release to this day, and he testified yesterday that

24   the program has multiple purposes, one, for noncitizens to

25   remove themselves and, two, for citizens to update their voter
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 1   information.   In his deposition, Mr. Helms testified that the

 2   purpose was to remove noncitizens that were already on the

 3   rolls illegally and were potentially voting.   That's Exhibit 46

 4   at page 74, line 18.   Because the program targeted alleged

 5   noncitizens for ultimate removal from the voter registration

 6   list, and based on Mr. Helms's deposition testimony, the Court

 7   finds that the purpose of the program was to remove ineligible

 8   voters from the official list of eligible voters for purposes

 9   of the 90-day provision.

10        The Court now addresses the question whether the purpose

11   of the program was to remove ineligible voters systematically.

12   Mr. Helms testified that the basic methodology for creating the

13   list of 3251 Alabamians was to take information on anyone who

14   provided noncitizenship data to the Alabama Law Enforcement

15   Agency or the Alabama Department of Labor and crosscheck it

16   with the voter file.   This methodology was also described by

17   Secretary Allen's office in a letter to the Department of

18   Justice on September 19th, 2024, which is at Doc. 49-7 in the

19   record.   Voter removal programs based on mass computerized

20   database matching, such as what is done here or what was done

21   here, are systematic programs under controlling Eleventh

22   Circuit precedent.   That's at page 1344 of the Arcia case.

23        Additionally, Mr. Helms testified that he understood that

24   in any process using data, you're going to have the potential

25   for false positives for other issues.   And this testimony
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 1   indicates that Mr. Helms understood that when the Secretary's

 2   office generated lists that put voters on a path to removal as

 3   part of the program, that process was systematic in nature.

 4         The State argues that nevertheless, removals in the

 5   program are not systematic because the process merely invites

 6   individual voters to engage in a case-by-case dialogue with the

 7   State about their eligibility to vote.   The Court rejects this

 8   interpretation because it, A, misses the reality that putting

 9   voters on a path to removal is systematic in this program, B

10   runs afoul of Arcia's rule that programs use a mass

11   computerized data-matching process are definitionally

12   systematic, and, C, would allow mass computerized data-matching

13   programs to completely evade the 90-day provision, which is

14   inconsistent with the text and purpose of the statute.

15         Finally, the rote use of template letters by County Boards

16   of Registrars in all of Alabama's counties, templates that were

17   provided by the Secretary, illustrates the systematic nature of

18   the path to removal that the program created.

19         For the following reasons, the Court finds that the United

20   States is likely to establish that the Alabama Secretary of

21   State's program is covered by the 90-day provision and violated

22   it.   The State defendants raised two primary arguments against

23   this finding, and the Court now turns to those.   One is about

24   the timing of removals that may occur as part of the program,

25   and one is about marking voters as inactive on the rolls.   The
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 1   Court will reject both arguments.

 2        First, the State defendants argue that there's no

 3   statutory violation here because no removals have occurred or

 4   will occur before the 2024 election, other than self-removals,

 5   and the 90-day provision bars only removals during that time

 6   frame.   Testimony from Mr. Helms does indicate that other than

 7   self-removals no removals have occurred to date in connection

 8   with the program, and the only removals, other than

 9   self-removals, that will occur, will happen in connection with

10   the 2028 election.   But this does not undo the reality that the

11   purpose of the program is to systematically remove ineligible

12   voters from the rolls, which is what brings it within the reach

13   of the statute.   And as a practical matter, the Secretary's

14   communications to registrars and voters in August of 2024 were

15   in the context of the 2024 general election.   The August press

16   release and August letters stated that voters were on a path to

17   removal from the rolls, and it directed them about resolving

18   that issue before the 2024 general election.   It said nothing

19   about 2028.   The State defendants make a number of statutory

20   interpretation arguments to the effect that the 90-day

21   provision does not bar the operation of programs within 90 days

22   of an election; it bars only systematic removals within that

23   timeframe.    But based on answers to the Court's questions

24   yesterday, the State defendants take this argument too far, so

25   far as to allow the Secretary of State to commence a program
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 1   with the purpose of systematically removing ineligible voters

 2   from the rolls merely 80 days before the election, tell voters

 3   as a part of that program that they have been removed, and

 4   escape liability for a statutory violation on a ground that, in

 5   truth, that removal has not been accomplished.   This

 6   interpretation would read the words "purpose" and "complete"

 7   out of the statute and give them no meaning.   The Court thus

 8   rejects the State defendants' statutory arguments on those

 9   grounds as well as for the other statutory interpretation

10   reasons articulated by the United States on rebuttal at the

11   close of the hearing yesterday.

12        Second, the State defendants argue that there is no

13   violation of the 90-day provision because so far voters have

14   only been inactivated as a part of this program, unless they

15   have self-removed, and inactive voters may still cast a ballot.

16   But the testimony of Mr. Helms and the letters to voters

17   themselves made clear that inactivation is just a precursor

18   step on the path to removal, so the fact that to date the

19   Secretary's office has only inactivated voters as part of the

20   program does not change the fact that the purpose of the

21   program is to remove ineligible voters for the rolls.

22        The Court next turns to the issue of whether irreparable

23   harm will occur in the absence of preliminary injunctive

24   relief, and the Court has no difficulty finding that following

25   the Secretary's violation of the 90-day provision, both the
                                                                       12




 1   United States and voters in Alabama will suffer irreparable

 2   harm in the absence of preliminary injunctive relief.    First,

 3   the harm to the United States is clear as a matter of law.

 4   Under controlling precedent, the United States suffers an

 5   injury when its valid laws in a domain of federal authority are

 6   undermined by impermissible State action.    That's United States

 7   versus Alabama 691 f.3rd 1269 at 1301 decided by the Eleventh

 8   Circuit in 2012.    Second, the harm to Alabama voters is obvious

 9   and has been obvious to the Secretary since he began this

10   program.    Based on the Secretary's own evidence of harm to

11   voters offered in this case in the last four days, the Court

12   rejects unequivocally legal counsel's argument that there is no

13   harm to voters but only a slight inconvenience.    In this

14   regard, the Court makes the following specific findings:

15           One, the Secretary's August 13th, 2024, press release made

16   clear that the Secretary understood that because of the way

17   that the lists were generated, the program would put some

18   citizens on a path to removal even though they are eligible to

19   vote.    In that press release, Secretary Allen stated that some

20   of the individuals who were issued noncitizen identification

21   numbers, since receiving them, have become naturalized citizens

22   and are therefore eligible to vote.

23           Mr. Helms -- two, Mr. Helms testified yesterday that he

24   and Secretary Allen understood that this error and other

25   inclusion errors would occur as part of the program because,
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 1   quote, in any process using data, you are going to have the

 2   potential for false positives or other issues, end quote.

 3        Three, Mr. Helms also testified yesterday that he and

 4   Secretary Allen had no idea how high the error rate would be

 5   when the program began back in August.

 6        Four, according to Mr. Helms's declarations and his

 7   testimony yesterday, since the program began, the Secretary has

 8   learned information that has caused his office to conclude that

 9   more than 2,000 of the 3,251 voters originally on the list were

10   inaccurately inactivated, and those voters have been

11   reactivated.   Accordingly, the error rate is admitted at well

12   more than 50 percent.   Of the remaining approximately 1,000

13   voters, the record does not establish how many were

14   inaccurately inactivated.

15        Five, despite knowing that errors would occur, Secretary

16   Allen referred everyone on the list, all 3,251 people to

17   Attorney General Marshall via letter, hand-delivered, on August

18   13th, 2024, for criminal investigation.

19        Six, despite knowing now that he inaccurately referred

20   more than 2,000 Alabamians for criminal investigation,

21   Mr. Helms testified that Secretary Allen has taken no steps to

22   correct his inaccurate referral.

23        Seven, counsel from the Attorney General's office told the

24   Court yesterday that the Attorney General takes referrals of

25   criminal activity by other constitutional officers very
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 1   seriously, which comes as no surprise to the Court.

 2        Eight, additionally, the plaintiffs developed evidence, a

 3   podcast interview of Secretary Allen, that before this program

 4   was implemented, Secretary Allen was aware of the 90-day

 5   provision and knew that under federal law the State could not

 6   engage in certain kinds of voter roll maintenance within the 90

 7   days preceding a federal election.

 8        Accordingly, the Court has no difficulty finding that the

 9   Alabamians who were and/or remain inaccurately inactivated on

10   the voter rolls and who were and/or remain referred for

11   criminal investigation as a part of this untimely program have

12   been harmed by those actions, and that harm will continue to

13   occur absent preliminary injunctive relief.

14        The Court now turns to the balancing of the equities

15   knowing that Congress designed the NVRA to carefully balance

16   the four competing purposes of the statute.   The equities favor

17   injunctive relief when the balance Congress struck is upset

18   through noncompliance with the 90-day provision, and as Arcia

19   explains, quote, at most times during the election cycle the

20   benefits of systematic programs outweigh the costs because

21   eligible voters who are incorrectly removed have enough time to

22   rectify any errors.   In the final days before an election,

23   however, the calculus changes, end quote.   The whole point of

24   the 90-day provision as set forth in Arcia is to be very

25   cautious about programs that may systematically remove and have
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 1   the purpose of systematically removing voters on the eve of an

 2   election.

 3        As previously explained, Mr. Helms's own testimony,

 4   together with evidence that is not in dispute, establishes that

 5   Alabama's untimely program worked real harms to Alabama voters

 6   mere weeks before the 2024 general election.   It led them to

 7   believe that they needed to take action to ensure their ability

 8   to cast a ballot in that election, and it led the Secretary to

 9   inaccurately refer thousands of Alabamians for criminal

10   investigation by the State's chief law enforcement officer.

11   The Secretary's efforts to reactivate large numbers of voters

12   during the pendency of this lawsuit underscores the Secretary's

13   understanding of this harm.

14        Mr. Helms has submitted three declarations which in total

15   established that the Secretary's office has directed the

16   reactivation of more than 2,000 voters of the 3,251 who were

17   inactivated as part of the program.   Mr. Helms testified about

18   one instance in which a voter was inaccurately instructed by a

19   county registrar to complete a self-removal form even though

20   that voter is eligible to vote.   That evidence was the

21   declaration of Mr. Clarence Hunter, an active Alabama voter

22   from Russell County, and that declaration was submitted by the

23   plaintiffs.   Mr. Helms testified that the registrar did not

24   follow the instructions and that the Secretary's office worked

25   to address that harm.
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 1        On the other side of the equity scale, based on

 2   Mr. Helms's testimony, it appears that through this program,

 3   the Secretary has identified a handful, at least four, perhaps

 4   as many as ten, perhaps more, noncitizens who were somehow on

 5   Alabama's voter rolls.   In any event, Alabama will suffer no

 6   undue prejudice as a result of a preliminary injunction

 7   because, A, the Secretary can -- could and should have acted

 8   earlier and, B, the Secretary still has the ability to remove

 9   noncitizens from the rolls on the basis of individualized

10   information despite the 90-day provision.

11        Based on the foregoing admissions and findings, the Court

12   rejects the State defendants' argument that for the purposes of

13   evaluating the equities the program has at most caused only a

14   slight inconvenience to inactivated voters that has now been

15   resolved.   This was not a no-harm, no-foul instance of

16   noncompliance with the 90-day provisions, and the equities

17   counsel strongly in favor of preliminary injunctive relief.

18        As to the public interest factor, the public interest, the

19   public has a clear interest in the enforcement of federal

20   statutes that protect constitutional rights, especially voting

21   rights, under United States v. Raines, which is 362 U.S. 17 at

22   page 27, a 1960 decision of the United States Supreme Court.

23   That public interest is served by enforcing federal statutes

24   that are meant to reduce systematic programs that are

25   disruptive to the last 90 days of a federal election cycle, and
                                                                     17




 1   this is especially applicable in the facts of this case.

 2        The State argues that the public interest is served by

 3   removing noncitizens from voter rolls in Alabama, and that's

 4   certainly true, but the Court's orders today will in no way

 5   limit the State's authority to investigate and prosecute

 6   noncitizens who try to vote in elections in Alabama.   Under

 7   Arcia and the Court's orders, the 90-day provision does not,

 8   quote, bar a state from investigating potential noncitizens and

 9   removing them on the basis of individualized information even

10   within the 90-day window, end quote.

11        So to repeat what the Court said and expressed earlier,

12   Federal law imposes a deadline for programs like this one.

13   Secretary Allen's office blew the deadline for the 2024 general

14   election, and that had real consequences for the thousands of

15   Alabamians who the Secretary now acknowledges are, in fact,

16   legally entitled to vote.

17        The Court finds that a preliminary injunction should

18   issue, will not harm the State's ability to investigate and

19   prosecute noncitizens who try to vote in Alabama.   And the

20   Court will not make, at this time, any other findings or

21   conclusions about any other issues in the case.

22        A written order will issue momentarily that will grant, in

23   part, the United States motion for a preliminary injunction,

24   reserve ruling on the motion for preliminary injunction filed

25   by the private plaintiffs, deny, in part, the State defendants'
                                                                          18




 1   motion to dismiss as to the claim asserted by the United

 2   States, and reserve ruling as to the remainder of the motions

 3   to dismiss in both cases.

 4           Is there anything else we need to take up while we're

 5   together?

 6               MS. MESSICK:   May we be heard on exactly what the

 7   injunction will be?

 8               THE COURT:   Well, I won't limit your opportunity to

 9   make a record today, but, I mean, the opportunity to submit

10   proposed orders was open until 6:30 this morning.      But if there

11   are arguments you would like to make as to what the injunction

12   should be, I can hear them now.

13               MS. MESSICK:   Okay.   Thank you, Your Honor.   We had

14   some feedback on the proposal that the United States made and

15   some concerns.    Do you want to --

16               MR. OVERING:   Well, it shouldn't be -- shouldn't be

17   long, and I understand that it may already be written and may

18   issue imminently.    But we had concerns primarily about the

19   deadline about three days to comply with all of these things.

20   It takes time not only to figure out the status of the people

21   on the list and provide those updates that are in the Helms'

22   declarations, to communicate with 67 boards of registrars to

23   put together personalized letters and to get those out the

24   door.    And, you know, if three days being Saturday, that's a

25   lot different than three business days, which could mean Monday
                                                                    42




 1                        C E R T I F I C A T E

 2

 3            I certify that the foregoing is a correct transcript

 4   from the record of proceedings in the above-entitled matter.

 5                                        Dated: 10/16/2024

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     _______________________________
10   Kelli M. Griffin, RPR, CSR
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